                Case 23-11131-TMH              Doc 897      Filed 12/13/23        Page 1 of 18




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                   Debtors.1                          (Jointly Administered)

                                                                      Related Docket Nos. 524, 892 and 893

   ORDER (I) APPROVING THE DISCLOSURE STATEMENT; (II) SCHEDULING
CONFIRMATION HEARING; (III) APPROVING FORM AND MANNER OF NOTICE
    OF CONFIRMATION HEARING; (IV) ESTABLISHING PROCEDURES FOR
 SOLICITATION AND TABULATION OF VOTES TO ACCEPT OR REJECT PLAN,
    INCLUDING (A) APPROVING FORM AND CONTENT OF SOLICITATION
      MATERIALS; (B) ESTABLISHING RECORD DATE AND APPROVING
    PROCEDURES FOR DISTRIBUTION OF SOLICITATION MATERIALS; (C)
APPROVING FORMS OF BALLOTS; (D) ESTABLISHING VOTING DEADLINE FOR
    RECEIPT OF BALLOTS AND (E) APPROVING PROCEDURES FOR VOTE
  TABULATIONS; (V) APPROVING FORM AND MANNER OF NOTICE OF PLAN
  RELEASES; (VI) ESTABLISHING DEADLINE AND PROCEDURES FOR FILING
 OBJECTIONS TO CONFIRMATION OF PLAN; AND (VII) GRANTING RELATED
                               RELIEF

                   Before the Court is the above-captioned debtors and debtors-in-possession (the

“Debtors”) Motion for an Order (I) Approving the Disclosure Statement; (II) Scheduling

Confirmation Hearing; (III) Approving Form and Manner of Notice of Confirmation Hearing;

(IV) Establishing Procedures for Solicitation and Tabulation of Votes to Accept or Reject Plan,

Including (A) Approving Form and Content of Solicitation Materials; (B) Establishing Record

Date and Approving Procedures for Distribution of Solicitation Materials;(C) Approving Forms

of Ballots; (D) Establishing Voting Deadline for Receipt of Ballots and (E) Approving

Procedures for Vote Tabulations; (V) Approving Form and Manner of Notice of Plan Releases;


1
 A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
100, Emeryville, CA 94608.

DOCS_NY:48499.8 03703/004
4894-7043-7262.16 03703.004
                  Case 23-11131-TMH             Doc 897        Filed 12/13/23       Page 2 of 18




(VI) Establishing Deadline and Procedures for Filing Objections to Confirmation of Plan; and

(VII) Granting Related Relief (the “Motion”)2; and the Court, after considering any objections to

the Motion; and upon review of the record and after due deliberation thereon; and the Court

finding that proper and adequate notice of the hearing on the Motion [Docket No. 525] and the

Disclosure Statement filed by the Debtors on October 12, 2023 [Docket No. 524], as amended on

December 1, 2023 [Docket No. 809-2], and as amended on December 6, 2023 [Docket No. 826-

2], and as amended on December 12, 2023 [Docket No. 893] has been given to all parties in

interest, and no other or further notice or hearing being necessary; and after due deliberation and

sufficient cause appearing therefor; IT IS HEREBY FOUND, ORDERED, AND ADJUDGED

as follows:

                    1.        The Motion is GRANTED as provided herein.

                                       Approval of Disclosure Statement

                    2.        The Disclosure Statement contains “adequate information” within the

meaning of section 1125 of the Bankruptcy Code regarding the Second Amended Joint Chapter

11 Plan of Reorganization of Amyris, Inc. and its Affiliated Debtors, as Modified filed on

December 12, 2023 [Docket No. 892] (including all exhibits thereto and as amended, modified

or supplemented, the “Plan”). Therefore, the Disclosure Statement is approved pursuant to 11

U.S.C. § 1125(b) and Fed. R. Bankr. P. 3017(b).

                    3.        All objections to the adequacy of the Disclosure Statement, if any, are, to

the extent not consensually resolved as set forth herein, overruled in their entirety.




2
    Terms not otherwise defined herein shall have the meaning ascribed to such terms in the Motion.


4894-7043-7262.16 03703.004                                2
DOCS_NY:48499.8 03703/004
                Case 23-11131-TMH             Doc 897      Filed 12/13/23    Page 3 of 18




                                       Setting of Confirmation Hearing

                   4.         The hearing to consider confirmation of the Plan shall commence on

January 24, 2024, at 10:00 a.m. (Eastern Time) (the “Confirmation Hearing”).                         The

Confirmation Hearing may be continued from time to time by announcing such continuance in

open court or otherwise, all without further notice to parties in interest, and the Plan may be

modified, if necessary, pursuant to section 1127 of the Bankruptcy Code, prior to, during, or as a

result of, the Confirmation Hearing, without further notice to interested parties.

                  Approval of Solicitation Materials and Non-Voting Class Notices

                   5.         The Solicitation Materials as set forth in the Motion, as well as the cover

letter from the Creditors’ Committee making a recommendation to the Holders of General

Unsecured Claims and Convertible Notes Claims with respect to voting on the Plan in

substantially the form attached hereto as Exhibit E (the “Committee Support Letter”), are

approved. The Debtors shall transmit, or cause to be transmitted, the Solicitation Materials no

later than December 18, 2023 (the “Solicitation Mailing Deadline”) by first class, United States

mail (or by international courier if the addresses are not located in the United States), to (a)

Holders of Claims in Classes 3, 4, 5, 7, 8, 9, and 10, the only impaired classes entitled to vote on

the Plan (collectively, the “Voting Classes”) and (b) the Notice Parties (as defined below).

                   6.         To avoid duplication and reduce expenses, the Debtors shall serve only

one set of Solicitation Materials on each creditor who has more than one Claim, but shall include

the appropriate Ballots for each Class of Claims.

                   7.         Pursuant to Bankruptcy Rule 3017(d), the Debtors are not required to

transmit the Solicitation Materials to the Non-Voting Classes (Classes 1, 2, 6, 12, and 14). On or

before December 18, 2023, the Debtors, through the Solicitation Agent (as defined below), shall



4894-7043-7262.16 03703.004                            3
DOCS_NY:48499.8 03703/004
                Case 23-11131-TMH      Doc 897      Filed 12/13/23    Page 4 of 18




mail the following: (i) to each Holder of Claims in the Non-Voting Classes (except Holders of

Claims in Class 11), a notice substantially in the form attached hereto as Exhibit B1 (the “Non-

Voting Class Notice (Holders of Claims)”) and (ii) to each Interest Holder in the Non-Voting

Classes (except Holders of Interests in Class 13), a notice substantially in the form attached

hereto as Exhibit B2 (the “Non-Voting Class Notice (Interest Holders)”, and with the Non-

Voting Class Notice (Holders of Claims), the “Non-Voting Class Notices”), which set forth: (a)

the recipients status as a member of a Non-Voting Class; (b) a summary of the Plan; (c) the date

and time of the Confirmation Hearing; and (d) the deadline and procedures for filing objections

to the Plan. The Non-Voting Class Notices will also include a description of the Plan’s release,

indemnification and exculpation provisions, including the Third-Party Release, and the Opt Out

Election Form which will set forth the applicable deadline, instructions and procedures for each

Holder of a Claim or Interest in a Non-Voting Class to make such opt out election. The Non-

Voting Class Notices will indicate that a holder of a Claim and/or Interest in a Non-Voting Class

is entitled, upon written request to counsel to the Debtors, to receive a copy of the Plan and

Disclosure Statement, in electronic format (or such other format as specifically requested by such

Claimant or Interest Holder) at the expense of the Debtors. The Non-Voting Class Notices will

also contain the link to the Solicitation Agent’s website where any party in interest can access

copies of the Solicitation Materials, including the Plan and Disclosure Statement, at no cost.

Holders of Claims in Class 11 (Intercompany Claims) and Interests in Class 13 (Intercompany

Interests) are deemed to have received all necessary notices upon entry of this Order because

these Classes consist of the Claims or Interests of Debtors or wholly-owned Affiliates of Debtors

who are not entitled to vote on the Plan and have either consented to the Plan or are deemed to

have accepted the Plan.



4894-7043-7262.16 03703.004                     4
DOCS_NY:48499.8 03703/004
                Case 23-11131-TMH            Doc 897     Filed 12/13/23   Page 5 of 18




               Approval of Form and Manner of Notice of the Confirmation Hearing

                   8.         The Confirmation Hearing Notice and the Non-Voting Class Notices, in

substantially the form attached hereto as Exhibits A, B1, and B2, as modified consistent with

any revisions to the Plan, are approved. As set forth above, the Confirmation Hearing Notice

shall be included as part of the Solicitation Materials and sent via regular mail to all creditors

entitled to vote on the Plan. In addition, the Debtors shall serve the Confirmation Hearing Notice

and Solicitation Materials on the Notice Parties.

                   9.         The Debtors shall publish the Confirmation Hearing Notice on December

18, 2023, or as soon as practical therafter, once in the national editions of the Wall Street Journal

and in the Official Gazette in Brazil (in Portuguese). Additionally, the Confirmation Hearing

Notice shall be posted electronically on the website maintained for the Debtors by the Voting

Agent, at https://cases.stretto.com/Amyris.

   Record Date and Approval of Procedures for Distribution of Solicitation Materials and
                               Non-Voting Class Notices

                   10.        The record date shall be December 1, 2023 (the “Record Date”) for

purposes of determining which parties are entitled to receive the Solicitation Materials or the

Non-Voting Class Notices and, where applicable, vote on the Plan.

                   11.        Bankruptcy Management Solutions, Inc. d/b/a Stretto (the “Solicitation

Agent”), shall serve the Solicitation Materials or, as applicable, the Non-Voting Class Notices,

inspect, monitor, and supervise the solicitation process, serve as the tabulator of the Ballots,

tabulator of the parties who have opted out of granting the Third-Party Releases, and certify to

the Court the results of the balloting in the Voting Tabulation Affidavit. The Voting Tabulation

Affidavit shall identify any parties which elected to opt out of granting the Third-Party Release

as to both Voting and Non-Voting Classes.


4894-7043-7262.16 03703.004                          5
DOCS_NY:48499.8 03703/004
                Case 23-11131-TMH             Doc 897      Filed 12/13/23   Page 6 of 18




                   12.        Subject to the procedures set forth below regarding Holders of Convertible

Notes Claims (Class 7), the Solicitation Agent will transmit the Solicitation Materials to the

known Holders of Claims in the Voting Classes based upon the names and addresses in the

proofs of claim filed by the claimants, or the Debtors’ schedules if no proof of claim was filed by

the Record Date. Each Holder of an Allowed Claim in the Voting Classes will be required to

return a properly executed Ballot so that it is received by the Solicitation Agent on or before the

Voting Deadline (as defined below) in order for that Holder’s Ballot to be counted.

                   13.        The Solicitation Agent will transmit the Non-Voting Class Notice

(Holders of Claims) to the known Holders of Claims in Classes 1, 2, 6, and 12 based upon the

names and addresses in the proofs of claim filed by the claimants, or the Debtors’ schedules if no

proof of claim was filed by the Record Date. Subject to the procedures set forth below regarding

Holders of Class 14 Interests, the Solicitation Agent will transmit the Non-Voting Class Notice

(Interest Holders) to the known Holders of Interests in Class 14 as of the Record Date. The Non-

Voting Class Notices and attached Opt Out Election Form provide sufficient notice of, and an

opportunity for Holders of Claims and/or Interests in Non-Voting Classes to opt out of granting

the Third-Party Release contained in the Plan.

                   14.        Procedures for Notice and Distribution of (i) Solicitation Materials to

Holders of Convertible Notes Claims (Class 7) and (ii) Non-Voting Class Notice (Interest

Holders) to Holders of Class 14 Interests. In additional to the procedures set forth above, the

Court approves the following procedures to facilitate appropriate notice being given to Holders

of Claims in Class 7 and Interests in Class 14.

         a.        Procedures for Notice to Holders of Class 7 Convertible Notes Claims. Within
                   three (3) Business Days of the entry of the Disclosure Statement Order, the
                   Convertible Notes Trustee shall (a) provide the Solicitation Agent with the names,
                   addresses and holdings of any directly registered Holders of Convertible Notes as


4894-7043-7262.16 03703.004                            6
DOCS_NY:48499.8 03703/004
                Case 23-11131-TMH             Doc 897      Filed 12/13/23   Page 7 of 18




                   of the Record Date (other than DTC’s nominee, Cede & Co.) to the extent such
                   information is available to the Convertible Notes Trustee, (b) request from DTC a
                   list (the “Nominee List”) with the name and address of each bank, broker, or other
                   intermediary (each a “Nominee”) through which one or more beneficial
                   noteholders (the “Beneficial Noteholders”) hold a Convertible Notes Claim in
                   “street name” as of the Record Date and provide such Nominee List to the
                   Solicitation Agent, and (c) cooperate with reasonable requests of the Solicitation
                   Agent related to the Solicitation Agent’s performance of its duties pursuant to the
                   Disclosure Statement Order to transmit the Solicitation Materials to the Beneficial
                   Noteholders. The Solicitation Agent shall use such information only for purposes
                   consistent with these Solicitation Procedures and any order of the Court. The
                   Solicitation Agent will transmit the Solicitation Materials to such identified
                   Holders of Convertible Notes Claims as provided herein.

         b.        Procedures for Notice to Holders of Class 14 Interests. Within three (3) Business
                   Days of the entry of the Disclosure Statement Order, each of the agents under the
                   applicable documents governing the Class 14 Interests shall provide the
                   Solicitation Agent with (a) a copy of the list of the names, addresses and holdings
                   of any directly registered Holders of Class 14 Interests as of the Record Date in an
                   electronic file, (b) the name and address of each Nominee identified as a Holder
                   of record through which one or more beneficial holders (the “Beneficial Interest
                   Holders”) hold an Interest in the Parent in “street name” as of the Record Date in
                   an electronic file, and (c) such other information the Solicitation Agent deems
                   reasonable and necessary to perform its duties pursuant to the Disclosure
                   Statement Order. The Solicitation Agent shall use such information only for
                   purposes consistent with these Solicitation Procedures and any order of the Court.
                   The Solicitation Agent will transmit the Non-Voting Class Notice (Interest
                   Holders) to such identified Holders of Class 14 Interests as provided herein.

                   15.        The Debtors and/or the Solicitation Agent, as applicable, are permitted to

dispense with the mailing of Solicitation Materials or applicable Non-Voting Class Notices to

addresses and entities to which the notice of the Disclosure Statement Hearing was returned by

the United States Postal Service or courier. The Debtors and/or the Solicitation Agent are further

relieved of any obligation to attempt to locate the correct address and resend prior to the Voting

Deadline the Solicitation Materials or the Non-Voting Class Notices that are returned as

undeliverable. To the extent any Solicitation Materials or Non-Voting Class Notices are returned

as undeliverable and are re-sent, the initial mailing date shall be the date of service for the

purpose of calculating notice.


4894-7043-7262.16 03703.004                            7
DOCS_NY:48499.8 03703/004
                Case 23-11131-TMH             Doc 897     Filed 12/13/23    Page 8 of 18




                   16.        In cases where a party has executed a Ballot in accordance with the terms

of this Order, and has indicated corrections or updates to the mailing address used in the service

of the Solicitation Materials, either physically on the face of the Ballot or otherwise separately

enclosed with the Ballot, the corrected or updated mailing address shall be used to reflect the

mailing address of the creditor on the official register of Claims against or Equity Interests in the

Debtors.

                         Approval of Form of Ballots and Opt Out Election Form

                   17.        The Ballots, substantially in the form attached hereto as Exhibits C1 –

C7, as modified consistent with revisions to the Plan, are approved. The Voting Class Notice of

Confirmation Hearing and the Ballots provide sufficient notice of, and an opportunity for

Holders of Claims in Voting Classes to opt out of granting the Third-Party Release contained in

the Plan.

                   18.        The Opt Out Election Form, attached to the Non-Voting Class Notices

substantially in the form attached hereto as Exhibits B1 and B2, is approved. The Non-Voting

Class Notices and the Opt Out Election Form provide sufficient notice of, and an opportunity for

Holders of Claims or Interests in the Non-Voting Classes to opt out of granting the Third-Party

Release contained in the Plan.

                     Deadline for Receipt of Ballots and Opt Out Election Forms

                   19.        Unless extended by the Debtors or their counsel in writing, on or before

January 18, 2024 at 5:00 p.m. (prevailing Eastern Time) (the “Voting Deadline”) (i) Ballots

accepting or rejecting the Plan must be received by the Solicitation Agent at the address below

(except for submission of the Class 7 Convertible Notes Claims Ballots (as defined below) which

may only be submitted in accordance with the express instructions set forth in the applicable



4894-7043-7262.16 03703.004                           8
DOCS_NY:48499.8 03703/004
                Case 23-11131-TMH             Doc 897     Filed 12/13/23    Page 9 of 18




Beneficial Holder Ballot or Master Ballot, the forms of which are attached hereto as Exhibits

D5(a) and D5(b)) and (ii) Opt Out Election Forms must be received by the Solicitation Agent at

the address below.

                                             Amyris Balloting
                                                c/o Stretto
                                          410 Exchange, Suite 100
                                             Irvine, CA 92602

                   20.        Ballots or Opt Out Election Forms received via facsimile, electronic mail

or other electronic transmission will not be counted unless approved by the Debtors, provided,

however, that Ballots may be electronically submitted using the Solicitation Agent’s on-line

electronic ballot portal at https://cases.stretto.com/Amyris (except for submission of the Class 7

Convertible Notes Claims Ballots (as defined below) which may only be submitted in

accordance with the express instructions set forth in the applicable Beneficial Holder Ballot or

Master Ballot, the forms of which are attached hereto as Exhibits D5(a) and D5(b)).

                                       Procedures for Vote Tabulation

                   21.        Votes may not be changed after the Voting Deadline unless the Court, for

cause, permits such change after notice and hearing pursuant to Bankruptcy Rule 3018(a).

                   22.        Ballots must be properly executed by the holder of a Claim in a Voting

Class and timely received by the Solicitation Agent to be counted. Any Ballot that is illegible or

contains insufficient information to permit the identification of the holder of a Claim in a Voting

Class will not be counted.

                   23.        The following tabulation procedures are approved solely for purposes of

voting on the Plan (collectively, the “Voting Procedures”):

         a.        If an objection has not been filed to a Claim, the amount of such Claim for voting
                   purposes shall be the non-contingent, liquidated and undisputed Claim amount
                   contained on a timely filed Proof of Claim or, if no timely filed Proof of Claim
                   has been filed by the Voting Deadline, the amount of such Claim for voting

4894-7043-7262.16 03703.004                           9
DOCS_NY:48499.8 03703/004
                Case 23-11131-TMH          Doc 897       Filed 12/13/23    Page 10 of 18




                   purposes shall be the non-contingent, liquidated and undisputed amount of such
                   Claim listed in the Debtors’ Schedules of Assets and Liabilities;

         b.        If a Claim (i) for which a Proof of Claim has been timely filed as wholly
                   contingent, unliquidated or disputed, undetermined, or unknown in amount, or (ii)
                   is Scheduled as wholly contingent, unliquidated or disputed, undetermined, or
                   unknown in amount and such Claimant has not filed a superseding Proof of
                   Claim, in either case, such Claims shall be temporarily allowed in the amount of
                   $1.00 for voting purposes only, but not for purposes of allowance or distribution;

         c.        If a Claim is partially liquidated and partially unliquidated, such Claim shall be
                   allowed for voting purposes only in the liquidated amount;

         d.        If a holder of a Claim in a Voting Class casts a Ballot with respect to a Claim that
                   is the subject of an objection filed no later than thirty (30) days before the
                   Confirmation Hearing, the Debtors request, in accordance with Bankruptcy Rule
                   3018, that the party’s Ballot not be counted, unless the Court temporarily allows
                   such Claim for purposes of voting to accept or reject the Plan, and that such
                   creditor be required to file a motion for such relief (the “Rule 3018 Motion”) no
                   later than January 5, 2024 at 5:00 p.m. (prevailing Eastern Time), and that the
                   Court schedule a hearing on such motion for a date on or prior to the
                   Confirmation Hearing. Notwithstanding the foregoing, if the Debtors file an
                   objection to a Claim and request that such Claim be allowed in a specific amount,
                   such creditor’s Ballot shall be counted in such specified amount, unless otherwise
                   ordered by the Court;

         e.        Holders of Proofs of Claim filed for $0.00 are not entitled to vote notwithstanding
                   that the Holder of such Claim may be in a Voting Class;

         f.        Notwithstanding anything to the contrary contained herein, any creditor who has
                   filed or purchased one or more duplicate Claims within the same Voting Class
                   shall be provided with only one Solicitation Materials and one Ballot for voting a
                   single Claim in such Voting Class, regardless of whether the Debtors have
                   objected to such duplicate Claims;

         g.        If a Claim is the subject of an amended Proof of Claim, the originally filed Proof
                   of Claim shall be deemed superseded by the later filed amended Proof of Claim,
                   regardless of whether or not the Debtors have objected to such Claim, and only
                   the amended Proof of Claim shall be used for the purpose of determining voting
                   eligibility in accordance with the provisions herein;

         h.        For purposes of the numerosity requirement of § 1126(c), a Creditor with multiple
                   Claims in a particular Voting Class may vote each of its Claims against the
                   Debtors in such Voting Class, but must vote all of such Claims either to accept the
                   Plan or all of such Claims to reject the Plan, and each such vote to accept or reject
                   the Plan shall be counted separately;



4894-7043-7262.16 03703.004                         10
DOCS_NY:48499.8 03703/004
                Case 23-11131-TMH            Doc 897      Filed 12/13/23   Page 11 of 18




         i.        If a Claim has been disallowed by agreement of the applicable creditor or order of
                   the Court at any time before the Voting Deadline, or if the Claim is on account of
                   a contract or lease that has been assumed pursuant to section 365 of the
                   Bankruptcy Code, such Claim shall also be disallowed or disregarded for voting
                   purposes; and

         j.        If a Claim has been estimated or otherwise allowed for voting purposes by order
                   of the Court, such Claim shall be temporarily allowed in the amount so estimated
                   or allowed by the Court for voting purposes only, and not for purposes of
                   allowance or distribution.

                   24.        The following voting procedures and standard assumptions will be used in

tabulating the Ballots (collectively, together with the Voting Procedures, the “Voting and

Tabulation Procedures”):

         a.        Except to the extent the Debtors otherwise agree, or as permitted by the Court,
                   Ballots received after the Voting Deadline will not be accepted or counted by the
                   Debtors in connection with the confirmation of the Plan;

         b.        Claims shall not be split for purposes of voting; thus, each creditor must vote the
                   full amount of its Claim(s) within each Voting Class to either accept or reject the
                   Plan. If a creditor attempts to split such vote on their Ballot, such Ballot will not
                   be counted for voting purposes;

         c.        Any executed Ballot which does not indicate an acceptance or rejection will not
                   be counted;

         d.        Any executed Ballot which indicates both an acceptance and rejection of the Plan
                   will not be counted;

         e.        Votes cast pursuant to a Ballot that is not signed or does not contain an original
                   signature or, in the case of Ballots which are electronically submitted using the
                   Solicitation Agent’s official on-line electronic, an electronic signature, shall not
                   be counted, unless the Court orders otherwise;

         f.        Parties holding Claims in more than one Voting Class under the Plan may receive
                   more than one Ballot coded for each applicable Voting Class;

         g.        The method of delivery of Ballots to be sent to the Solicitation Agent is at the
                   election and risk of each holder of a Claim, but, except as otherwise provided in
                   the Disclosure Statement, such delivery will be deemed made only when the
                   original, executed Ballot is actually received by the Solicitation Agent;

         h.        Delivery to and receipt by the Solicitation Agent of the original executed Ballot
                   on or before the Voting Deadline is required in order for a vote to be counted.
                   Delivery of a Ballot by facsimile, email or any other electronic means will not be

4894-7043-7262.16 03703.004                          11
DOCS_NY:48499.8 03703/004
                Case 23-11131-TMH          Doc 897       Filed 12/13/23    Page 12 of 18




                   accepted unless otherwise ordered by the Court; provided, however, that Ballots
                   may be electronically submitted using the Solicitation Agent’s official on-line
                   electronic ballot portal at https://cases.stretto.com/Amyris (except for submission
                   of the Class 7 Convertible Notes Claims Ballots (as defined below) which may
                   only be submitted in accordance with the express instructions set forth in the
                   applicable Beneficial Holder Ballot or Master Ballot, the forms of which are
                   attached hereto as Exhibits D5(a) and D5(b));

         i.        Ballots must be submitted in accordance with the Voting Procedures. No Ballot
                   sent to the Debtors, or to the Debtors’ financial or legal advisors, will be accepted
                   or counted in connection with confirmation of the Plan;

         j.        If multiple Ballots are received from or on behalf of an individual holder of a
                   Claim with respect to the same Claim prior to the Voting Deadline, the last
                   properly completed Ballot timely received will be deemed to reflect the voter’s
                   intent and to supersede and revoke any prior Ballot;

         k.        If a Ballot is signed by a trustee, executor, administrator, guardian, attorney-in-
                   fact, officer of a corporation, or other person acting in a fiduciary or
                   representative capacity, such person should indicate such capacity when signing
                   and, if requested by the Debtors, must submit proper evidence, satisfactory to the
                   Debtors, of such person’s authority to so act in such capacity;

         l.        The Debtors, subject to contrary order of the Court, may waive any defect in any
                   Ballot at any time, either before or after the close of voting, and without notice.
                   Except as otherwise provided herein, the Debtors may reject such defective Ballot
                   as invalid and, therefore, not count it in connection with confirmation of the Plan;

         m.        Unless otherwise ordered by the Court, all questions as to the validity, eligibility
                   (including time of receipt) and revocation or withdrawal of Ballots shall be
                   determined by the Debtors, which determination shall be final and binding;

         n.        If a designation is requested under section 1126(e) of the Bankruptcy Code, any
                   vote to accept or reject the Plan cast with respect to such Claim will not be
                   counted for purposes of determining whether the Plan has been accepted or
                   rejected, unless otherwise ordered by the Court;

         o.        Any holder of a Claim who has timely delivered a valid Ballot voting on the Plan
                   may withdraw such vote solely in accordance with Bankruptcy Rule 3018(a);

         p.        Unless waived or as otherwise ordered by the Court, any defects or irregularities
                   in connection with delivery of Ballots must be cured by the Voting Deadline, and
                   unless otherwise ordered by the Court, delivery of such Ballots will not be
                   deemed to have been made until such irregularities have been cured or waived.
                   Ballots previously furnished (and as to which any irregularities have not been
                   cured or waived by the Voting Deadline) will not be counted in connection with
                   confirmation of the Plan;


4894-7043-7262.16 03703.004                         12
DOCS_NY:48499.8 03703/004
                Case 23-11131-TMH            Doc 897       Filed 12/13/23     Page 13 of 18




         q.        Neither the Debtors, nor any other person or entity, will be under any duty to
                   provide notification of defects or irregularities with respect to the delivery of
                   Ballots, nor will any of them incur any liability for failure to provide such
                   notification;

         r.        No fees or commissions or other remuneration will be payable to any broker,
                   dealer or other person for soliciting Ballots to accept the Plan;

         s.        The Ballot is not a letter of transmittal and may not be used for any purpose other
                   than to vote to accept or reject the Plan; and

         t.        The Ballot does not constitute, and shall not be deemed to be, a Proof of Claim or
                   an assertion or admission of the validity or allowability of a Claim for distribution
                   or any other purposes.

         u.        Any executed Ballot which does not indicate an opt out of granting the Third-
                   Party Release shall be deemed to be consent to such Third-Party Release,
                   regardless of whether such Ballot is voted to accept or reject the plan, or contains
                   no voting election.

                   25.        Procedures for Voting Tabulation of Class 7 Convertible Notes Claims. In

addition to the foregoing generally applicable Voting and Tabulation Procedures, the following

procedures shall apply to tabulating the votes of Beneficial Noteholders of Convertible Notes

Claims in Class 7 that hold and therefore, will vote, their position through a Nominee:

         a.        On the Solicitation Mailing Deadline, the Solicitation Agent shall distribute or
                   cause to be distributed (i) the Solicitation Materials, including an applicable
                   Ballot, to all Beneficial Noteholders of Convertible Notes Claims as of the Record
                   Date, and (ii) an appropriate number of Solicitation Materials, including an
                   appropriate number of applicable ballots, and a master ballot (a “Master Ballot”)
                   to each Nominee identified to the Solicitation Agent as a Holder of record through
                   which one or more Beneficial Noteholders holds a Convertible Notes Claim in
                   “street name” as of the Record Date;3

         b.        Within three (3) business days of receipt of the Solicitation Materials from the
                   Solicitation Agent, each Nominee must distribute the Solicitation Materials,
                   including the applicable Ballots, to each Beneficial Noteholder for which they
                   hold the applicable Convertible Notes Claim in one of the following two ways (as
                   selected by the Nominee):

                              (i)    Obtaining the votes of the Beneficial Noteholders by (1)
                                     immediately distributing the Solicitation Materials, including

3
  Nominees may use their ordinary and standard procedures to disseminate the voting materials (including use of
their own voting form) as well as in the collection of votes and elections from their Beneficial Noteholders.

4894-7043-7262.16 03703.004                           13
DOCS_NY:48499.8 03703/004
                Case 23-11131-TMH            Doc 897       Filed 12/13/23   Page 14 of 18




                                     Beneficial Holder Ballots, it receives from the Solicitation Agent
                                     to all such Beneficial Noteholders, (2) promptly collecting
                                     Beneficial Holder Ballots from such Beneficial Noteholders that
                                     cast votes on the Plan, (3) compiling and validating the votes and
                                     other relevant information of all such Beneficial Noteholders on
                                     the Master Ballot, and (4) transmitting the Master Ballot to the
                                     Solicitation Agent by the Voting Deadline; or

                              (ii)   Distributing pre-validated Beneficial Holder Ballots pursuant to
                                     the following procedures: (1) the Nominee shall forward to each
                                     Beneficial Noteholder as of the Record Date the Solicitation
                                     Materials, an individual Beneficial Holder Ballot that has been pre-
                                     validated, postage prepaid return envelope as indicated in
                                     subparagraph (2); (2) to pre-validate a Beneficial Holder Ballot,
                                     the Nominee should complete the first item and execute the Ballot
                                     and indicate on the Beneficial Holder Ballot the name of the
                                     Nominee and DTC participant number, as applicable, the number
                                     and dollar amount of Convertible Notes held by the Nominee for
                                     the Beneficial Noteholder, and the account number for the account
                                     in which such Convertible Notes are held by the Nominee; and (3)
                                     the Beneficial Noteholder shall complete and return the pre-
                                     validated Beneficial Holder Ballot to the Solicitation Agent by the
                                     Voting Deadline.

         c.        Any Nominee of a Convertible Notes Claim in its own name may vote on the Plan
                   by completing a Beneficial Holder Ballot or a Master Ballot and returning it
                   directly to the Solicitation Agent on or before the Voting Deadline.

         d.        The Convertible Notes Trustee will not be entitled to vote on behalf of the
                   Beneficial Holder; rather, each Beneficial Holder must vote his or her own
                   Convertible Notes Claim in the manner set forth herein.

         e.        Nominees that pre-validate Beneficial Holder Ballots must keep a list of
                   Beneficial Noteholders for whom they pre-validated a Beneficial Holder Ballot
                   along with copies of the pre-validated Beneficial Holder Ballots for a period of
                   one year after the Effective Date of the Plan.

         f.        The Solicitation Agent will not count votes of Beneficial Noteholders unless and
                   until they are included on a valid and timely Master Ballot or a valid and timely
                   “pre-validated” Beneficial Holder Ballot.

         g.        If a Beneficial Noteholder holds Convertible Notes Claims through more than one
                   Nominee or through multiple accounts, such Beneficial Noteholder may receive
                   more than one Beneficial Holder Ballot and each such Beneficial Noteholder must
                   vote consistently and execute a separate Beneficial Holder Ballot for each block
                   of Convertible Notes that it holds through any Nominee and must return each



4894-7043-7262.16 03703.004                           14
DOCS_NY:48499.8 03703/004
                Case 23-11131-TMH             Doc 897       Filed 12/13/23   Page 15 of 18




                   such Beneficial Holder Ballot to the appropriate Nominee or return each such
                   “pre-validated” Beneficial Holder Ballot to the Solicitation Agent.

         h.        Votes cast by Beneficial Noteholders through Nominees will be applied to the
                   applicable positions held by such Nominees in the applicable Voting Class, as of
                   the Record Date, as evidenced by the record and depository listings. Votes
                   submitted by a Nominee pursuant to a Master Ballot will not be counted in excess
                   of the amount of such Convertible Notes Claims held by such Nominee as of the
                   Record Date.

                   26.        If no Holder of a Claim eligible to vote in a particular Voting Class timely

votes to accept or reject the Plan, the Debtors may seek to have the Plan deemed accepted by the

Holders of such Claims in such Voting Class for purposes of section 1129(b) of the Bankruptcy

Code.

                   27.        As set forth in the Plan, if the Third-Party Releases are not approved by

the Bankruptcy Court, each holder of a Direct Claim may voluntarily elect to receive its Pro Rata

portion of the Third-Party Release Settlement Amounts to which it is entitled by electing to grant

the Third-Party Releases, through the following methods: (x) for (i) holders of Claims who are

entitled to submit a ballot to vote on the Plan and vote to accept the Plan, (ii) holders of Claims

who are entitled to submit a ballot to vote on the Plan and (a) vote to reject the Plan or (b)

abstain from voting on the Plan and, in either case, do not elect to exercise their right to opt out

of granting the Third-Party Releases, and (y) for holders of Claims and Interests who are deemed

to accept or reject the Plan and are provided with a notice of non-voting status providing them

with the right to opt out of granting the Third-Party Releases and do not elect to exercise such

right; provided, that, as applicable, the Direct Claims Threshold is satisfied.

                   28.        The Solicitation Agent shall file the Voting Tabulation Affidavit with the

Bankruptcy Court, on or before January 22, 2024 or such other date that is no later than three (3)

business days prior to the Confirmation Hearing.



4894-7043-7262.16 03703.004                            15
DOCS_NY:48499.8 03703/004
                Case 23-11131-TMH             Doc 897       Filed 12/13/23   Page 16 of 18




       Deadline and Procedures for Filing Plan Supplement, Objections to Confirmation
                      of the Plan and the Debtors’ Confirmation Brief

                   29.        To the extent necessary and appropriate, the Debtors shall file any Plan

Supplement on or before January 9, 2024.

                   30.        All objections to confirmation of the Plan, including any supporting

memoranda, (each a “Plan Objection”) must be (a) in writing; (b) filed with the Clerk of the

United States Bankruptcy Court for the District of Delaware, Third Floor, 824 Market Street,

Wilmington, Delaware 19801 together with proof of service; (c) (i) state the name and address of

the objecting party and the amount of its Claim or the nature of its interest in the Debtors’

chapter 11 cases, (ii) state with particularity the provision or provisions of the Plan objected to,

and, (iii) for any objection asserted, the legal and factual basis for such objection, and (d) be

served upon the Notice Parties (as defined below) so as to be received on or before January 18,

2024 at 5:00 p.m. (Eastern Time) (the “Plan Objection Deadline”).

                   31.        As used herein, the Notice Parties are:

         a.        Counsel for the Debtors, (i) Pachulski Stang Ziehl & Jones LLP, 919 North
                   Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE 19899-8705 (Courier
                   19801), Attn: James E. O’Neill (joneill@pszjlaw.com) and Steven W. Golden
                   (sgolden@pszjlaw.com); and (ii) Pachulski Stang Ziehl & Jones LLP, One
                   Sansome Street, Suite 3430, San Francisco, CA 94104, Attn: Debra I. Grassgreen
                   (dgrassgreen@pszjlaw.com);

         b.        Office of the U.S. Trustee for the District of Delaware, 844 King Street, Suite
                   2207, Lock Box 35, Wilmington, Delaware, 19801, Attn: John Schanne, Esq.
                   (John.Schanne@usdoj.gov);

         c.        Counsel to the DIP Lenders, DIP Agent and the Foris Prepetition Secured
                   Lenders, (i) Goodwin Procter LLP, 620 Eighth Avenue, New York, NY 10018,
                   Attn: Michael H. Goldstein (mgoldstein@goodwinlaw.com), Alexander J. Nicas
                   (anicas@goodwinlaw.com),          and        Debora         A.        Hoehne
                   (dhoehne@goodwinlaw.com); and (ii) Troutman Pepper Hamilton Sanders LLP,
                   Hercules Plaza, Suite 5100, 1313 N. Market Street, P.O. Box 1709, Wilmington,
                   DE 19899; Attn: David M. Fournier (david.fournier@troutman.com);



4894-7043-7262.16 03703.004                            16
DOCS_NY:48499.8 03703/004
                Case 23-11131-TMH            Doc 897       Filed 12/13/23   Page 17 of 18




         d.        Counsel to the Committee, (i) White & Case LLP, 111 South Wacker Drive, Suite
                   5100,      Chicago,     IL     60606-4302,       Attn:     Gregory      Pesce,
                   (gregory.pesce@whitecase.com) and Andrew O’Neill, (aoneill@whitecase.com);
                   (ii) White & Case LLP, 1221 Avenue of the Americas, New York, NY 10020-
                   1095, Attn.: John Ramirez, (john.ramirez@whitecase.com) and Andrea Kropp,
                   (andrea.kropp@whitecase.com); and (iii) local counsel to the Committee, Potter
                   Anderson & Corroon LLP, 1313 North Market Street, 6th Floor, Wilmington, DE
                   19801; Attn: Christopher M. Samis, (csamis@potteranderson.com), Katelin A.
                   Morales,         (kmorales@potteranderson.com),          Sameen          Rizvi
                   (srizvi@potteranderson.com); and

         e.        any party that requests service pursuant to Bankruptcy Rule 2002.

                   32.        Any Plan Objections not timely filed and served in accordance with the

provisions of this Order are hereby deemed waived and will not be considered by this Court.

The Debtors may, in their sole discretion, extend the Plan Objection Deadline for any party in

interest.

                   33.        On or before January 22, 2024 at 12:00 P.M. (Prevailing Eastern Time) or

such other date that is no later than two (2) business days prior to the Confirmation Hearing, the

Debtors shall file a brief supporting confirmation of the Plan (including any supporting legal

memoranda) and replying to any Plan Objections (the “Confirmation Brief”). The Debtors shall

serve the Confirmation Brief on the Notice Parties, as set forth above.

                   34.        Prior to mailing the Disclosure Statement, Solicitation Materials, or the

Non-Voting Class Notices, the Debtors may fill in any missing dates and other information,

correct any typographical errors, and make such other non-material, non-substantive changes as

they deem necessary.

                   35.        In the event of an inconsistency between the Plan, on the one hand, and

the Disclosure Statement (or any Solicitation Materials or procedures approved by this Order),

on the other hand, the Plan shall control.




4894-7043-7262.16 03703.004                           17
DOCS_NY:48499.8 03703/004
                Case 23-11131-TMH            Doc 897       Filed 12/13/23   Page 18 of 18




                   36.        The Debtors and the Solicitation Agent are authorized and empowered to

take such steps, expend such monies, and perform such acts as may be necessary to implement

and effectuate the terms of this Order.

                   37.        This Court retains jurisdiction over any and all matters arising out of or

related to the interpretation or implementation of this Order.




      Dated: December 13th, 2023                        THOMAS M. HORAN
      Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE



4894-7043-7262.16 03703.004                           18
DOCS_NY:48499.8 03703/004
